Case 1:17-cv-22419-FAM Document 1 Entered on FLSD Docket 06/28/2017 Page 1 of 8




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                                                      Southern DistrictofFlorida

                                                                          Division

                    MichaelJ.Hall,MD
                    Cindy Mattson,ESQ                                       CaseNo.
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                   Antony S.Fauci,MD
                GovenorRichard Lynn Scott
                 MayorCarl osA.Jiminez
                Deputy MayorAlina T.Hudak

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C'evvr-r-'j'-c.'x                  COMPLAINTAND REQUEST FOR INJUNCTION
 1.       The Partiesto This Com plaint
                    ThePlaintiffts)
                    Provide theinform ation below foreach plaintiffnam ed in the com plaint. Attach additionalpagesif
                    needed.
                           Nam e                        MichaelJ.Hall,MD,M .Sc,PA,DABFM
                           streetAddress                1680 Meridian Ave.,Suite 6O1
                              City and county                      Miam iBeach,M i
                                                                                 amiDade
                              state and zip code                   Florida,33139
                              Telephone Number                     305-672-4733
                              E-mailAddress                        mjhallmd@ me.com

           B.       TheDefendantls)
                    Providethe information below foreach defendantnam ed in the complaint,w hetherthe defendantisan
                    individual,a governm entagency,an organization,oracorporation. Foran individualdefendant,
                    includetheperson'sjobortitle(l
                                                 fknoqvn).Attachadditionalpagesifneeded.
Case 1:17-cv-22419-FAM Document 1 Entered on FLSD Docket 06/28/2017 Page 2 of 8




    ProSe2(Rev.l2/l6)Complai
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                                                      Southern DistrictofFlorida

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                     MichaelJ.Hall,M D
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                    Antony S.Fauci,MD
                 GovenorRichard Lynn Scott
                  MayorCarl osA.Jiminez
                 Deputy MayorAlina T.Hudak

                       Defendantls)
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              àQ.                  COMPLAINTANDREQUESTFORINJUNCTION
    1.      The Parties to ThisCom plaint
            A.       ThePlaintiffts)
                     Provide the information below foreach plaintiffnamed in the complaint. Attach additionalpages if
                     needed.
                            Name                         Cindy A.Mattson,ESQ
                            StreetAddress                1700 Meridian Ave.,Apt4O3
                                                                   J -J
                              City and County                  Mlam lBeach,M iamiDade
                              Stateand zip Code                Florida,33139
                              Telephone Number                 786-208-3333
                              E-mailAddress                    cm attson@ eeocconsultants.com


            B.       TheDefendantts)
                     Provide the inform ation below foreach defendantnamed in thecomplaint,whetherthe defendantis an
                     individual,agovernmentagency,an organization,ora corporation. Foran individualdefendant,
                     includetheperson'sjobortitle(k
                                                  fknojk,
                                                        n).Attachadditionalpagesifneeded.
Case 1:17-cv-22419-FAM Document 1 Entered on FLSD Docket 06/28/2017 Page 3 of 8




 ProSe2(Rev.12/16)ColllplaintandReqtlestforlnjunction

                    DefendantNo.l
                             Nam e                      Dr. Anthony S.Fauci   ,M D
                             Job orTitle (t
                                          fk/7t
                                              /u'
                                                ??      Director, N IH Allergy and Infectious Disease Di
                                                                                                       vision
                             StreetAddress              BG 31RM 7A0331CenterDr.
                             City and County            Bethesda, Montgom ery County
                             State and Zip Code         M aryland 20814
                             TelephoneN umber           301-496-2263
                             E-mailAddress(fknou'
                                                n)      anthony.fauci@ nih.gov

                   DefendantNo.2
                             N am e                     Hon. Ri
                                                              chard Lynn Scott
                             JoborTitle(t
                                        fknown)         GovenorofFlori
                                                                     da
                             StreetAddress              The Capi
                                                               tol4OO South Monroe Street
                             City and County            Tallahassee,
                             State and Zip Code         Florida,32399-0001
                             Telephone Num ber           850-488-7146
                             E-mailAddress(fknown)      N/A

                   DefendantNo.3
                             Name                       Hon.CarlosA.Jimeniz
                             JoborTitlelfknoqvnl        MayorofM iam i
                             StreetAddress              stephen P. Clark Center111 N.W .1StStreet,29th Fl
                                                                                                        oor
                             City and County            Miam i, Miam i-Dade
                             State and Zip Code         Florida, 33128
                             TelephoneN umber           305-375-5071
                             E-m ailAddress(t
                                            fft/
                                               ?(?u'
                                                   ??   mayor@ miamidade.gov


                   DefendantNo.4
                             Nam e
                             Job orTitle(l
                                         fknown)
                             StreetAddress
                            City and County
                             State and Zip Code
                            TelephoneN umber
                            E-m ailAddresshfknoq3m)



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Case 1:17-cv-22419-FAM Document 1 Entered on FLSD Docket 06/28/2017 Page 4 of 8




ProSe2(Rev.12/l6)ComplaintandRequestforIni
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                                             on

II.     Basis forJurisdiction

        FederalcourtsarecourtsofIimitedjurisdiction(limitedpower).Generally,onlytwotypesofcasescanbe
        heard infederalcourt:casesinvolving afederalquestionandcasesinvolvingdiversity ofcitizenshipofthe
        parties.Under28U.S.C.jl331,acasearisingundertheUnitedStatesConstitutionorfederalIawsortreaties
        isafederalquestion case.Under28U.S.C.j l332,acasein whichacitizenofoneStatesuesacitizenof
        anotherStateornationandtheamountatstakeismorethan $75,000 isadiversity ofcitizenship case.In a
        diversity ofcitizenshipcase,nodefendantmay beacitizenofthesam eStateasany plaintiff.

        W hatisthebasisforfederalcourtjurisdiction? (checka1lthatwp/p/
                                                                     ).
                                                                      tl
             W Federalquestion                        Diversity ofcitizenship

        Filloutthe paragraphsin this sectionthatapply to thiscase.

        A.       IftheBasisforJurisdiction IsaFederalQuestion
                 Listthespecific federalstatutes,federaltreaties,and/orprovisionsofthe United StatesConstitution that
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        B.       Ifthe Basis for Jurisdiction IsDiversity ofCitizenship

                          ThePlaintiffts)
                                   Ifthe plaintiffisan individual
                                   The plaintiff, (name)                                             5is acitizen ofthe
                                   State of(name)


                                   Ifthe plaintiffisa corporation
                                   The plaintiff, (name)                                              isincorporated
                                   underthe Iaw softhe State of(name)
                                   and has itsprincipalplaceofbusiness in the State of(name)



                          (lfmorethan oneplaintitj
                                                 ''L'namedinthecomplaint,attach an additionalpageproviding the
                          samelhformationforeachadditionalplaintff)
                          TheDefendantts)
                                   Ifthe defendantisan individual
                                   The defendant, (name)
                                   the Stateof(name)
                                   (forei
                                        gnnation)
Case 1:17-cv-22419-FAM Document 1 Entered on FLSD Docket 06/28/2017 Page 5 of 8




ProSe2(Rev.12/16)ConAplaintandRequestforIIIJ'unction

II.      Basis for Jurisdiction

         Federalcourtsarecourtsoflimitedjurisdiction(Iimitedpower).Generally,onlytwotypesofcasescanbe
         heard in federalcourt:casesinvolving a federalquestion and casesinvolving diversity ofcitizenship ofthe
         parties. Under28 U.S.C.j l331,acasearisingundertheUnitedStatesConstitution orfederallawsortreaties
         isafederalquestion case.Under28U.S.C.j l332,acasein whichacitizenofoneStatesuesacitizenof
         anotherStateornationandtheamountatstakeismorethan $75,000 isadiversity ofcitizenship case.Ina
         diversity ofcitizenship case,no defendantm ay be a citizen ofthe sam e State asany plaintiff.

          Whatisthebasisforfederalcourtjurisdiction? (checkaIlthatJp/p/
                                                                      y?
                W Federalquestion                              Diversity ofcitizenship

          Filloutthe paragraphsin thissection thatapply to thiscase.

                   IftheBasisforJurisdiction Isa FederalQuestion
                   Listthe specific federalstatutes,federaltreaties,and/orprovisions ofthe United StatesConstitution that
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                    coc)mandate underaemergency useauthori  zation (EUA)sprayeda known human neurotoxic,
                    carcinogen,andenvironmentaltoxi
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                    underregistration review underSectlon 18 ofFederalInsectici
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          B.        Ifthe Basis forJurisdiction Is Diversity ofCitizenship

                             ThePlaintiffts)
                             a.        Ifthe plaintiffisan individual
                                       The plaintiff, (name)                                               ,isa citizen ofthe
                                       State of(name)


                                       Ifthe plaintiffisa corporation
                                       Theplaintiff,(natne)                                                5isincorporated
                                       underthe law softhe State of(name)
                                       and has itsprincipalplace ofbusinessin the State of(name)



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                             sameiqformationforeach additionalplaintl
                                                                    ff)
                             TheDefendantts)
                             a.        Ifthedefendantisanindividual
                                       The defendant,                                                     5isa citizen of
                                       the State of(name)                                                Orisa citizen of
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                                        foreignnation)

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Case 1:17-cv-22419-FAM Document 1 Entered on FLSD Docket 06/28/2017 Page 6 of 8




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                                    Ifthe defendantis acorporation
                                    Thedefendant, (name)                                     5isincorporated under
                                    the lawsofthe State of(name)                                       5andhasits
                                    principalplaceofbusinessintheStateof(name)




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                           samef/?/brrz/a//t
                                           pn/t?reachadditionaldqfendant)
                           TheAm ountin Controversy
                           Theamountin controversy-theamountthe plaintiffclaim sthedefendantowesorthe amountat
                           stake-ismorethan $75,000,notcounting interestand costsofcourt,because(explainlï




 111.    Statem entofClaim
         W rite a shortand plain statementoftheclaim . Do notmake legalarguments. Stateasbrietly aspossiblethe
         factsshowingthateach plaintiffisentitledtotheinjunction orotherreliefsought.Statehow eachdefendant
         wasinvolved and whateach defendantdid thatcaused the plaintiffharm orviolated theplaintiffsrights,
         including the datesand places ofthatinvolvementorconduct. Ifm orethan oneclaim is asserted,numbereach
         claim and w rite a shortand plain statem entofeach claim in a separateparagraph. Attach additionalpages if
         needed.

                   W heredidtheeventsgiving risetoyourclaimts)occur?
                   Aerial,aquaticand terrestrialenvironmentofMiami-Dade County,M iami,Florida




          B.       W hatdateand approximatetimedidtheeventsgiving risetoyourclaimts)occur?
                   Fallof2016,Septemberand October,Summerof2017,June
Case 1:17-cv-22419-FAM Document 1 Entered on FLSD Docket 06/28/2017 Page 7 of 8




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                      W hatarethefactsunderlyingyourclaimts)? (Forexatnple.lT'
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                      federalgovernment,e.g.,NIH,CDC,State ofFlorida wi
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                      guidance asi
                                 tpertainstothe useofNal  ed (Dibrom),a known neurotoxin and carcinogenamong human
                      beings.Therightto befreefrom grave bodil y injury,knownorsurmised byscience,received bycontact
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                       ththe Naled (Dibrom)constitutesthe Iibertyinterest,whi
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                           ffs'Iiving environs and environm entalsurroundings whi
                                                                                ch become contaminated bythe Naled
                      (Dibrom)and remainathreatto Ii
                                                   fe,Iibertyandthepursui
                                                                        tofhappiness.Plaintiffsall
                                                                                                 egethe notice ofthe
                      dates and times ofintended applications is inadequate in thati
                                                                                   tisnottail
                                                                                            ored to reach the the most
                      vulnerable ofsociety,i.e.,school
                                                     s,homeless,etc.and does notadequatel    y inform them ofthe effects of
                      the spray.The spraying continues throughoutMiami-Dade county.



IV.      Irreparable Injur'
                          y
         Explain why monetarydamagesatalatertimewould notadequatelycompensateyoufortheinjuriesyou
         sustained,are sustaining,orwillsustain as a resultofthe eventsdescribed above,orw hy such compensation
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                       îpjylfjjncetheUSfederalgovernmentandStateofFloridai
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                  thas created a speci
                                     alrelationship wi
                                                     th plaintiffsthatrequiresthe US federalgovernmentand State of
        Fl
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           da to protectplainti
                              ffs.Thereareclearand human and environmentalriskassociatedwi
                                                                                         th Naled (Dibrom)
        use and recentstudies indicate,risk ofautism and cancerbeing elevated among popul
                                                                                        ationsthathave been
        exposedto Naled(Dibrom).W henthe State putsapersonindanger,theDueProcessClause requiresthestate
        to protecthim to the extentthatthe State's acti
                                                      ons have putthe person atan increased ri
                                                                                             sk.Archie v.Ci
                                                                                                          ty of
        Racine,847 F.2d 1211,1223 (7th Cir.1988)'
                                                ,Youngbergv.Romeo,457U.S.307,315,1O2S,Ct.2452,2457,73
        L.Ed.2d28 (1982).Plaintiffsaccusedefendantofcontinuingto sprayNaled (Dibrom)withoutmaki
                                                                                              ng any
        provision fori
                     ts potentialheal
                                    th effects and therefore engaging in a policy ''
                                                                                   thathe has ample reason to know m ay
        causeneedlessphysicalinjury,.'Ci
                                       ting1Ru
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                                              therford v.CityofBerkel
                                                                    ey,78O F.2d 1444!1446 (9thCir.1986),
        plaintiffs assertthatdefendants policy can fairl
                                                       y be characteri zed as intentional,unjustified,brutaland offensi
                                                                                                                      ve
        to human dignity.' The only asserti
                                          onwithoutdispute i  s the intentionalnature ofNaled use and it'sflagrant
        . 1:   ...-...-= *   : a.   x.2   I


         Relief
         State brietly and precisely whatdam agesorotherreliefthe plaintiffasksthe courtto order. Do notmake legal
         argum ents. Include any basisforclaim ing thatthe wrongsalleged are continuing atthepresenttim e. Include
         the amountsofany actualdam ages claim ed forthe actsalleged and the basisfortheseamounts. Include any
         punitive orexemplal' y dam ages claimed,the amounts,and the reasonsyou claim you are entitledto actualor
                '

                    t
                    'ïsçàzkzetkefG'%bhactwi
                                          thAntonyFauci,MD,DeputyMayorAlinaHudakandGov.Richardscott,EPA
        and FDA and have reasonable evidence thatthe comments and responsesto questions from aIIpartiesform a
        unitedfrontto endeavortouse a known neurotoxinand carcinogenovera large human popul      ation.Althoughthe
        useofNaled isbeing reviewed bythe EPA and i thasbeen banned inEuropeand i      sreprobate inCalifornia,the
        actionsto use i
                      tto combatan insectvectorthatcan be managed i  n a equally Iethaland Iess damaging human
        and environmentalmanneramountto criminalnegligence.The defendants acti     ons are notso much based in
        science,butin fearand pray upon the generalpopulati
                                                          on. Pl
                                                               aintiffs respectfully requestthe courtto suspend aII
        fudherNaled(Di
                     brom)use andto revi
                                       ew aIIrelevanthealthimpactdata,e.g.,(autism Ii
                                                                                    nkperS.Hicks)and
        gatherprofessionalopinion on bestpractices forinsectvectorabatementand decide ofa safe and satisfactory
        remedy while properly adhering to US Iaws and Consti
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Case 1:17-cv-22419-FAM Document 1 Entered on FLSD Docket 06/28/2017 Page 8 of 8




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V I.    Certification and Closing

        UnderFederalRuleofCivilProcedure 1l,by signingbelow,Icertify tothebestofmy knowledge,information,
        andbeliefthatthiscomplaint:(l)isnotbeing presented foran improperpurpose,suchastoharass,cause
        unnecessarydelay,orneedlesslyincreasethecostoflitigation;(2)issupported byexisting 1aw orby a
        nonfrivolousargumentforextending,modifying,orreversingexisting law;(3)thefactualcontentionshave
        evidentiary supportor,ifspecifically so identified,willlikely have evidentiary supportaftera reasonable
        opportunityforfurtherinvestigationordiscovery;and(4)thecomplaintotherwisecomplieswiththe
         requirem entsofRule 1l.

        A.        ForParties W ithoutan Attorney
                  Iagree to providethe Clerk'sO ffice with any changesto my addressw here case-related papersmay be
                  served. Iunderstand thatm y failure to keep a currentaddresson t5le with the Clerk'sOfficem ay result
                  in thedism issalofmy case.
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                  Dateofsigning:            28June2O17                                              '
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                  Printed Name ofPlaintiff         MichaelJ Ha1,        ,MSc.,PA,DABFM .

         B.       ForAttorneys

                  Date ofsigning:


                  Signature ofAttorney
                  Printed N am e ofAttorney
                  BarNumber
                  Name ofLaw Firm
                  StreetAddress
                  Stateand Zip Code
                  Telephone Num ber
                  E-mailAddress
